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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                 )     No. 1:17-cv-00365-LY
GRANDE COMMUNICATIONS                            )
NETWORKS LLC, and PATRIOT MEDIA                  )
CONSULTING, LLC,                                 )
                                                 )
               Defendants.
                                                 )


                             STATUS OF RESPONSIVE DOCUMENTS

        Pursuant to the Court’s Order of August 16, 2018 (Dkt. 139), Grande Communications

Networks LLC (“Grande”) submits this notice regarding the status of its production responsive

to Plaintiffs’ Request for Production Nos. 37 and 39, and Interrogatory No. 7. Grande confirms

that the documents it produced reflect all of the responsive records it is aware exist. Grande

notified opposing counsel that it is possible (but not confirmed) that additional records may exist

in tape backup. Grande does not know if such records exist or if the tape backups are capable of

being loaded and searched for responsive documents, owing to the fact that the entire

infrastructure on which those records were created no longer exists. The parties have agreed to

continue to meet and confer regarding the need for Grande to continue investigating the

existence of any additional responsive materials.




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Dated: August 21, 2018.


                                                    By: /s/ Richard L. Brophy
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                                                        Attorneys for Defendant GRANDE
                                                        COMMUNICATIONS NETWORKS LLC




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 21, 2018, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                     /s/ Richard L. Brophy
                                                     Richard L. Brophy




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